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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                            Case No. 1:21-cr-00719 (JEB)

CYNTHIA BALLENGER, and

CHRISTOPHER PRICE,

                     Defendants.


   DEFENDANTS’ MOTION TO SUPRESS DATA RECOVERED FROM
CERTAIN FACEBOOK ACCOUNTS AND DERIVATIVE EVIDENCE AND TO
          PROVIDE ANY OTHER APPROPRIATE RELIEF

         Defendant Cynthia Ballenger (Cynthia Price) and Defendant Christopher

Price, (together Defendants or the Prices) by and through undersigned counsel,

respectfully moves this Court, pursuant to the Rule. Pursuant to Fed. R. Crim. P.

12(b)(3), 12 (h) and 4(h) to grant Defendants’ Motion to Suppress Data Recovered

from Certain Facebook Accounts and Derivative Evidence and to Provide Any Other

Appropriate Relief. (“Motion to Suppress”) as provided in the attached proposed

order.

Dated: February 13, 2023                     Respectfully submitted,

                                             /s/ Nandan Kenkeremath
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                                             703-407-9407

                                             Counsel for Defendants
